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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


 BOWCON COMPANY, INC.,
 a California Corporation,

                              Plaintiff,

                v.
                                                             Case No. 19 C 7835
 ISMAIL MOHAMMED, individually; AXIS
 CAR WASH, LLC, an Illinois Limited                         Judge Harry D. Leinenweber
 Liability Company; AXIS AUTO SPA &
 PATEL TRADING, INC., an Illinois
 Corporation,

                         Defendants.


                                            ORDER
         Successful   RICO    plaintiffs   may    recover   attorneys’    fees.   FMC   Corp.   v.
Varonos, 892 F.2d 1308, 1315 (7th Cir. 1990) (citing 18 U.S.C. § 1964(c)).
Plaintiff obtained default judgment against Defendants and included with its
motion a request for costs and attorneys’ fees.
         The Court awards attorneys’ fees and costs reasonably required to prepare
and litigate the case. Ustrak v. Fairman, 851 F.2d 983, 990 (7th Cir. 1988).
Plaintiff submitted the Affidavit of Craig Donnelly in support of its motion,
which attached a statement of time entries for which Plaintiff seeks reimbursement.
After independent review, the Court finds the time entries sufficiently detailed
to conclude that Plaintiff’s counsel’s time was “reasonably expended.” Tchemkou
v. Mukasey, 517 F.3d 506, 510–11 (7th Cir. 2008).
         Accordingly,   the    Court   grants    Plaintiff’s   Motion    for   Determination    of
Attorneys’ Fees and Costs Pursuant to FED. R. CIV. P. 54(d) (Dkt. No. 28) and awards
Plaintiff $14,875.00 in attorneys’ fees. The Court also grants Plaintiff’s Bill
of Costs (Dkt. No. 27) and awards $1,612.07 in costs to Plaintiff.




                                                    Harry D. Leinenweber, Judge
                                                    United States District Court
Dated:    8/18/2020
